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                    EXHIBIT 17
Case 2:10-md-02179-CJB-DPC Document 11988-18 Filed 12/16/13 Page 2 of 2




        From:                               ~
        To:                                 Suttee lionel
        SUbJect:                            Re: settleo1eot Agreements
        Datol                               Friday, February 15, 2013 10:0&:25 Ar-1


       Ok. We need to suck it up for about B months and then I think the world Is our
       oyster. I'm actually going to sell part of my practice to give me·some breathing
       room and peace until thls is going full blast In twenty-four months and Chicago Is
       producing money. Having an evaluation done on Vegas and Phoenl'x. Lot of outside
       interest but will try to sell 20 percent or so to Corey to keep him vested. He has
       huge backing from some big money people. I'd be on easy street If Mr. Andry could
       settle some BP cla!ms! Such a go"od lawyer but can(t get out of his own way running
       a business. Was at Duke for UNC game Wednesday night. Awesome. Spoke to the
       coaches about Julian and can give you their Input. Obviously, tainted by hls
       cramping but maybe Its good to have him go again thls summer. If he can't play
       there, they can push him to the programs where he can contr)bute.
       On Feb 15, 2013, at 10:59 AM, Sutton Lionel wrot~:


                Don't know about Argentina. I thought you and 1-like talked to Maitin last. ram putting
                together a PR program and budget now

                Lionel H. Sutton, III
                935 Gravler St., Stc. 1910
                New Ol'leans, LA 70112
                Office 504.592 3230 ·
                Cell 504 957 4689

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                •• •• ••·••• • • • on ••• - ·~· 4"'....._._,,_,....,...




                From: g!enlernere~m
                Subject: Re: Settlement Agreements
                Date: Fri, 15 Feb 2013 10:57:02 -0700
                To: lhs3law@hotmall.c;QJD; mlketllJ:lLii.D!:Z.Q.Q.Q.@yahoo.com

                Good boy. Where are we on Argentina? We need to get PR stuff going now. By the time
              · the c;ontingencles are off rn the next f"eW weeks we can certainly mention the upcom!t'g
                contract as "going to contract with a major North American coal company and !n
                negotiations with may others globally".
                On Feb 15, 2013, at 10:11 AM, Sutton Lionel wrote:

                                 Mike,

                                 Attached please find all documents executed by me pertaining to the
                                Settlement betvveen Crown and Pr-oven. The same are produced and are to
                                 be read together .and in their entirety.

                                Lionel l·t Sutton, Ill
                                935 Gravicr St., Stc. 1910
                                New Orle<~ns, LA 70112
                                Office 504 592 3230
                                Cell 504 957 4689
                                 <Crown Consent of Members l.pdf> <Gary and Dan letter to
                                Proven.pdf> <H20 Company Agreement.pdf> <H20 Consent of

      CONFIDENTIAL                                                                                                                                                                                                         GJL000940




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